
PER CURIAM.
We hold that the trial court abused its discretion in denying with prejudice appellants’ petition for leave to intervene. Wags Transportation System v. City of Miami Beach, 88 So.2d 751 (Fla.1956); Citibank, N.A. v. Blackhawk Heating &amp; Plumbing Co., 398 So.2d 984 (Fla. 4th DCA 1981); Brickell Bay Condominium Association v. Forte, 410 So.2d 522 (Fla. 3d DCA 1982); and Fla.R.Civ.P. 1.230 and comments.
Accordingly, we reverse.
GLICKSTEIN, WALDEN and BARK-ETT, JJ., concur.
